                                      Case 18-14389-LMI           Doc 50          Filed 07/11/18       Page 1 of 3
                              UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                           www.flsb.uscourts.gov
                                               CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                            Original Plan
                        ■   Fifth                                 Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                  Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Tracy L. Jones                                 JOINT DEBTOR:                                        CASE NO.: 18-14389-LMI
SS#: xxx-xx- 4748                                         SS#: xxx-xx-
I.          NOTICES
            To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                               and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                               Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                               filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:      Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                               be reduced, modified or eliminated.
            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                               box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                            ■      Included             Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                            ■      Included             Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                                  Included         ■   Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $2,369.22            for months   1    to 60 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                              NONE      PRO BONO
        Total Fees:             $5005.00            Total Paid:             $559.00            Balance Due:            $4446.00
        Payable             $889.20          /month (Months 1     to 5 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $3,500.00 case, $150.00 costs, $775.00 motion value real estate, $525.00 motion avoid judicial lien, $20.00 title report, $35.00 credit
        report
        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:                 NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
         1. Creditor: JPMorgan Chase Bank, N.A.
              Address: as servicer for                    Arrearage/ Payoff on Petition Date   $39,644.46
                       Citibank, N.A.
                                                          Arrears Payment (Cure)                        $92.18        /month (Months    1   to 5   )
                       Mail Code: OH4-7142
                       3415 Vision Dr.                    Arrears Payment (Cure)                       $712.43        /month (Months    6   to 60 )
                       Columbus, OH 43219
                                                          Regular Payment (Maintain)                   $1,110.94      /month (Months    1   to 60 )
         Last 4 Digits of
         Account No.:                 7739
        Other:

LF-31 (rev. 10/3/17)                                                     Page 1 of 3
                                      Case 18-14389-LMI              Doc 50           Filed 07/11/18            Page 2 of 3
                                                                         Debtor(s): Tracy L. Jones                                 Case number: 18-14389-LMI

         ■    Real Property                                                         Check one below for Real Property:
                 ■ Principal    Residence                                            ■     Escrow is included in the regular payments
                       Other Real Property                                                 The debtor(s) will pay       taxes        insurance directly
         Address of Collateral:
         17454 SW 108th Ct., Miami, FL 33157

              Personal Property/Vehicle
         Description of Collateral:

         2. Creditor: Santander Consumer USA, Inc.
              Address: PO Box 560284                         Arrearage/ Payoff on Petition Date        $12,664.50 ($14,690.42 incl. 6% interest)
                       Dallas, TX 75365
                                                             Payoff (Including 6.0% monthly interest)             $34.16        /month (Months     1   to 5     )

         Last 4 Digits of                                    Payoff (Including 0% monthly interest)              $264.00        /month (Months     6   to 60 )
         Account No.:                  8388
        Other:

              Real Property                                                         Check one below for Real Property:
                       Principal Residence                                                 Escrow is included in the regular payments
                       Other Real Property                                                 The debtor(s) will pay       taxes        insurance directly
         Address of Collateral:



         ■    Personal Property/Vehicle
         Description of Collateral: 2016 Chevrolet Sonic
             B. VALUATION OF COLLATERAL:                         NONE
                   IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                   SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                   YOU PURSUANT TO BR 7004 AND LR 3015-3.
                   1. REAL PROPERTY:               NONE

         1. Creditor: Florida Housing Finance               Value of Collateral:                 $217,000.00                         Payment
                      Corporation
                                                            Amount of Creditor's Lien:               $0.00        Total paid in plan:              $0.00
               Address: 227 North Bronough St.,
                        Suite 5000
                        Tallahassee, FL 32301-1329          Interest Rate:                                             $0.00      /month (Months           to       )

         Last 4 Digits of Account No.:           3493
                                                            Check one below:
         Real Property                                        Escrow is included in the monthly
                                                              mortgage payment listed in this section
          ■   Principal Residence
                                                              The debtor(s) will pay
              Other Real Property
                                                                        taxes              insurance directly
         Address of Collateral:
         17454 SW 108th Ct., Miami, FL 33157


                   2. VEHICLES(S):           ■   NONE
                   3. PERSONAL PROPERTY:                ■   NONE
             C. LIEN AVOIDANCE                   NONE


LF-31 (rev. 10/3/17)                                                         Page 2 of 3
                                         Case 18-14389-LMI                 Doc 50          Filed 07/11/18       Page 3 of 3
                                                                               Debtor(s): Tracy L. Jones                         Case number: 18-14389-LMI
                       ■   Judicial liens or nonpossessory, nonpurchase money security interests securing the claims will be avoided to the extent that
                           they impair the exemptions under 11 U.S.C. § 522 as listed below. A separate motion will also be served pursuant to BR
                           7004 and LR 3015-3.
         1. Creditor: GE Money Bank nka Synchrony Bank                                   Collateral:   17454 SW 108th Ct., Miami, FL 33157
              Address: 170 W. Election Rd., Suite 125
                       Draper, UT 84020                                                  Exemption: Art. X, Section 4, Florida Constitution
         Last 4 Digits of Account No.:           3312
            D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
               distribution fom the Chapter 13 Trustee.
                       ■   NONE
            E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
               fom the Chapter 13 Trustee.
                       ■   NONE
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                            ■   NONE
            B. INTERNAL REVENUE SERVICE:                        ■    NONE
            C. DOMESTIC SUPPORT OBLIGATION(S):                             ■    NONE
            D. OTHER:              ■   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay               $5.82        /month (Months      1         to 5 )
                       Pay         $44.93        /month (Months      6         to 60 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.      ■     If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                    ■   NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                       ■   NONE
VII.        INCOME TAX RETURNS AND REFUNDS:                           ■    NONE
VIII.       NON-STANDARD PLAN PROVISIONS                        ■    NONE


                           PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                                Debtor                                                                    Joint Debtor
  Tracy L. Jones                                                    Date                                                                       Date



  /s/ Jordan E. Bublick                             July 11, 2018
    Attorney with permission to sign on                        Date
              Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.
LF-31 (rev. 10/3/17)                                                              Page 3 of 3
